      Case 4:11-cr-00162-REL-CFB Document 43 Filed 10/26/15 Page 1 of 1




                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA,                  )          Criminal No. 4:11-CR-162
                                           )
             v.                            )
                                           )
ANTHONY LEE SIMS,                          )          GOVERNMENT’S POSITION
                                           )          REGARDING ELIGIBILITY
             Defendant.                    )          FOR § 3582 REDUCTION


     The United States respectfully informs the Court that it agrees with the

Probation Office’s recommendation that defendant is not eligible for a sentencing

reduction under 18 U.S.C. § 3582(c) including because he expressly waived the right

to seek § 3582(c) in exchange for a Rule 11(c)(1)(C) plea agreement (Court’s Docket

No. 25, ¶ 11.)

                                                      United States of America

                                                      Nicholas A. Klinefeldt
                                                      United States Attorney

                                                By:    /s/ Andrew H. Kahl
                                                      Andrew H. Kahl
                                                      Assistant U.S. Attorney
                                                      110 E. Court Ave., #286
                                                      Des Moines, Iowa 50309
                                                      Tel:   (515) 473-9300
                                                      FAX: (515) 473-9292
                                                      Email: andrew.kahl@usdoj.gov

CERTIFICATE OF SERVICE
     I hereby certify that on October 26, 2015, I electronically filed the foregoing with
the Clerk of Court using the CM ECF system. I hereby certify that a copy of this
document was served on the parties or attorneys of record by:
     x ECF/Electronic filing          X     Other means (U.S. Mail)

UNITED STATES ATTORNEY
By: /s/ Deb DeGraff
    Paralegal Specialist
